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Robin Wilson

 

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San Francisco CA 94110 UNITED STATES &
415-670-0763 SAN FRaNisey cof COUT
UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA
In re: CASE NO.: 16-31073 DM
ROBIN ELAINE WILSON, ADV.NO. 17.0399 Zz
Debtor. CHAPTER 7
Plaintiff response to COMPLAINT
_ OBJECTING TO DISCHARGE AND
JUDITH BOLTER, TO DETERMINE
Plaintiff, DISCHARGEABILITY OF DEBT
Vv.
ROBIN ELAINE WILSON,
Defendant

 

 

 

Defendant Robin Wilson, hereby submits its Answer to the claims of Plaintiff Judy Bolter.
The paragraph numbering of the responses below corresponds with the same numbering sequence
of the paragraphs in Ms. Bolters claims, so that any given numbered paragraph below is the

response to the same numbered paragraph in the Claims.
1.

1. Defendant Robin Elaine Wilson is the debtor in case no. 16-31073, currently pending in

this district.

2 Plaintiff Judith Bolter is a creditor with a claim partially secured by a deed of trust on the
property at 3027 25t St./1303 Alabama St., (“25th St. Property”) and was unaware that she was a
plaintiff in this lawsuit until Ms Wilson informed her on November 28, 2017. This lawsuit was filed
by her attorneys without the claimed plaintiff's knowledge.

ANSWER TO COUNTERCLAIMS
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17.

Ms Wilson denies each and every such allegation.

Wilson incorporates by reference her response above to paragraph 1-3
Ms Wilson agrees with this paragraph.

Ms Wilson denies the allegations of this paragraph.

Ms Wilson denies the allegations of this paragraph.

Ms Wilson denies the allegations of this paragraph.

Ms Wilson denies the allegations of this paragraph.

Ms Wilson denies the allegations of this paragraph.

Ms Wilson denies the allegations of this paragraph.

Wilson incorporates by reference her response above to paragraph 1-3
Ms Wilson denies the allegations of this paragraph.
Ms Wilson denies the allegations of this paragraph.
Wilson incorporates by reference her response above to paragraph 1-3
Ms Wilson denies the allegations of this paragraph.
Ms Wilson denies the allegations of this paragraph.

a) Wilson is without knowledge or information to form a belief as to the truth of

these allegations and therefore denies each and every allegation.

18. Ms Wilson denies the allegations of this paragraph.

19. Ms Wilson denies the allegations of this paragraph.

20. Ms Wilson denies the allegations of this paragraph.

21. Wilson incorporates by reference her response above to paragraph 1-3
22. Ms Wilson does not deny this paragraph.

23. | Ms Wilson denies the allegations of this paragraph..

24. Wilson incorporates by reference her response above to paragraph 1-3
25. Ms Wilson does not deny this paragraph.

26. Ms Wilson denies the allegations of this paragraph.

ANSWER TO CLAIMS _)-

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27. Ms Wilson denies the allegations of this paragraph.

Further Statements of Defense

 

Wilson kept detailed records of spending and reported income and expenditures to the court
through filing monthly schedules and bank records. Bolter has access to these records and these
records were provided to her. Any accusation by Bolter to the contrary is false and pure
fabrication.

Wilson turned in every document available to her as requested by the court. Wilson did not
convert cash collateral for her own use. Any claims by Plaintiff are no more than claims and
accusations and not based on anything real. Any amounts of money toward the first deed of trust
would not impact Bolter’s claim she has no claim on the real property that is collectable. The
first deed of trust holds all value in the property.

Bolter was not informed that her attorneys were foreclosing and when she found out put an end to
it by cancelling the foreclosure so any chance of ever collecting money off the property has been
rejected by Bolter herself. That along with everything in this lawsuit and the other lawsuits
regarding this case have been run by criminal attorneys falsely using the name a of woman who
has no involvement. This is just one of many cases where they have lied and stolen from woman

and because this is true, Wilson requests this entire case be dismissed.

ANSWER TO CLAIMS -3 -
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AFFIRMATIVE DEFENSES
Wilson asserts the following affirmative defenses in response to Bolter’s Claims,
undertaking the burden of proof only as to those defenses that actually are or would be deemed
affirmative defenses as a matter of law, regardless of how such defenses are described or

categorized below.

FIRST AFFIRMATIVE DEFENSE

 

(Failure to Mitigate Damages)
As a First Affirmative Defense to the Claims, Wilson alleges that Bolter’s alleged
damages, if any, are barred, in whole or in part, to the extent that Bolter has failed to exercise
reasonable diligence in mitigating its damages, if any, and to the extent of such failure to mitigate,

any damages awarded to Bolter should be dismissed.

SECOND AFFIRMATIVE DEFENSE
(Set-Off)

As a Second Affirmative Defense to the Claims, Wilson alleges that she is entitled to a
set-off for any sums that, without intending limitation, Bolter have received from other sources
relating to its claims that are the subject of this action, and/or that Bolter owes Wilson as alleged
in Wilson’s own Complaint and otherwise.

THIRD AFFIRMATIVE DEFENSE
(Failure to State a Claim)

As a Third Affirmative Defense to the Claims, WILSON alleges that BOLTER’s Claims

fail to state facts sufficient to constitute any valid claims for relief against WILSON.

FOURTH AFFIRMATIVE DEFENSE

 

(Comparative Fault/Proportion of Fault)

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As a Fifth Affirmative Defense to the Claims, WILSON alleges that the losses or damages
of which BOLTER complains, if any, were proximately caused by the acts or omissions of
BOLTER or other third parties instead of by WILSON. Therefore, BOLTER’s recovery, if any,
from WILSON must be zero whether intentional or negligent, that is attributable to BOLTER or
other persons.

FIFTH AFFIRMATIVE DEFENSE
(Unclean Hands)

As a Sixth Affirmative Defense to the Claims, WILSON alleges that BOLTER’s claims,

and relief or recovery in this matter are barred, in whole or in part, by its unclean hands.
SIXTH AFFIRMATIVE DEFENSE
(Estoppel)

As a Seventh Affirmative Defense to the Claims, WILSON alleges that BOLTER’s
claims, and relief or recovery in this matter are barred, in whole or in part, by the doctrine of
estoppel.

SEVENTH AFFIRMATIVE DEFENSE

 

(Laches)
As an Eighth Affirmative Defense to the Claims, WILSON alleges that BOLTER’s claims and

relief or recovery in this matter are barred, in whole or in part, by the doctrine of laches.

EIGHTH AFFIRMATIVE DEFENSE

 

(Waiver)
As a Ninth Affirmative Defense to the Claims, WILSON alleges that BOLTER’s claims, and
relief or recovery in this matter are barred, in whole or in part, by the doctrine of waiver.
NINTH AFFIRMATIVE DEFENSE

(Ratification)

ANSWER TO CLAIMS -5-
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1 As a Tenth Affirmative Defense to the Claims, WILSON alleges that BOLTER ratified

the matters in the Claims and that said ratification bars BOLTER’s claims and hence BOLTER is

 

 

 

; barred, in whole or in part, from any relief and/or recovery herein.
TENTH AFFIRMATIVE DEFENSE
6 (Consent)
7 As an Eleventh Affirmative Defense to the Claims, WILSON alleges that at all times
8 || mentioned BOLTER consented to the acts and the events set forth in the Claims.
9 ELEVENTH AFFIRMATIVE DEFENSE
10 (Discharge of Obligation)
" As a Twelfth Affirmative Defense, WILSON alleges that any alleged obligations of
WILSON to BOLTER have been discharged by operation of law.
14 TWELVTH AFFIRMATIVE DEFENSE
15 (Action Filed in Bad Faith)
16 As a Thirteenth Affirmative Defense, WILSON alleges that it is informed and believes

17 | that BOLTER has filed the Claims in bad faith.

 

if THIRTEENTH AFFIRMATIVE DEFENSE
19
(Good Faith)
20
5A As a Fourteenth Affirmative Defense, WILSON alleges that it acted in good faith in the

oy propriety of the acts and/or omissions that BOLTER alleges in its Claims are attributable to

 

23 | WILSON.

24 FOURTEENTH AFFIRMATIVE DEFENSE

25 (Assumption of Risk)

2k As a Fifteenth Affirmative Defense, WILSON alleges that, without intending limitation,
BOLTER knowingly, willingly, and voluntarily assumed the risk of any and all harm of which it

ANSWER TO CLAIMS _6-
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now alleges in its Claims against WILSON.

FIFTHTEENTH AFFIRMATIVE DEFENSE

 

(No Damages or Other Relief)
As a Sixteenth Affirmative Defense, WILSON alleges, without intending limitation, that

BOLTER has not suffered any damage or any other loss (actual or otherwise) caused by the acts

or omissions of WILSON that are alleged in BOLTER’s Claims.

SIXTEENTH AFFIRMATIVE DEFENSE

 

(Fraud and Misrepresentation)

As a Seventeenth Affirmative Defense, WILSON alleges that the alleged obligations
which are the subject of the instant action were procured by fraud and misrepresentation by
BOLTER. Therefore, BOLTER’s claims, and relief or recovery in this matter are barred, in
whole or in part.

SEVENTEENTH AFFIRMATIVE DEFENSE
(Illegality)

As an Eighteenth Affirmative Defense, WILSON alleges that the alleged obligations

which are the subject of the instant action are illegal. Therefore, BOLTER’s claims, and relief or

recovery in this matter are barred, in whole or in part.

EIGHTEENTH AFFIRMATIVE DEFENSE

 

(Payment)
As a Nineteenth Affirmative Defense, WILSON alleges that BOLTER has received
payment relating to its claims, which are the subject of the instant action. Therefore, BOLTER’s

claims, and relief or recovery in this matter, must be reduced accordingly.

ANSWER TO CLAIMS _7-
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NINETEENTH AFFIRMATIVE DEFENSE

 

(Lack of Capacity to Sue)
As a Twenty-First Affirmative Defense, WILSON alleges that BOLTER lacks the
capacity to sue WILSON.

TWENTYTH AFFIRMATIVE DEFENSE

 

(Judicial Estoppel)
As a Twenty-Second Affirmative Defense, WILSON alleges that BOLTER’s claims, and
relief or recovery in this matter are barred, in whole or in part, by judicial estoppel.

TWENTY-FIRST AFFIRMATIVE DEFENSE

 

(Adequate Remedy at Law)
As a Twenty-Third Affirmative Defense, WILSON alleges that BOLTER’s claims for
unfair business practices and related remedies in the form of, including, but not limited to,
restitution and injunction are barred, in whole or in part, because it has an adequate remedy at

law.

TWENTY-SECOND AFFIRMATIVE DEFENSE

 

Un Pari Delicto)
As a Twenty-Fourth Affirmative Defense, WILSON alleges that BOLTER’s claims, and

relief or recovery in this matter, are barred, in whole or in part, by the doctrine of in pari delicto.

TWENTY-THIRD AFFIRMATIVE DEFENSE

 

(Voluntary Payment)
As a Twenty-Fifth Affirmative Defense, WILSON alleges that BOLTER voluntarily paid
WILSON under its alleged claim of right to that payment and/or with knowledge of facts relating
to its alleged claim of right to that payment.

TWENTY-FOURTH AFFIRMATIVE DEFENSE

 

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(Conduct Not Unfair)

As a Twenty-Sixth Affirmative Defense, WILSON alleges that BOLTER’s claims and
relief or recovery in this matter are barred, in whole or in part, because the acts and/or omissions
that BOLTER alleges are attributable to WILSON are not “unfair” within the meaning of
Business and Professions Code section 17200, et seq.

TWENTY-FIFTH AFFIRMATIVE DEFENSE

 

(Conduct not “Fraudulent” or “Likely to ‘Mislead/Deceive’”’)

As a Twenty-Eighth Affirmative Defense, WILSON alleges that BOLTER’s claims and
relief or recovery in this matter are barred, in whole or in part, because the acts and/or omissions
that BOLTER alleges are attributable to WILSON were not fraudulent, did not mislead or
deceive, and/or were not likely to mislead or deceive BOLTER. Moreover, WILSON had no
intent to defraud, mislead, or deceive BOLTER.

.TWENTY-SIXTH AFFIRMATIVE DEFENSE

 

(Conduct Not “Unlawful”)

As a Twenty-Ninth Affirmative Defense, WILSON alleges that BOLTER’s claims and
relief or recovery in this matter are barred, in whole or in part, because the acts and/or omissions
that BOLTER alleges are attributable to WILSON are not “unlawful” within the meaning of
Business and Professions Code section 17200, et seq.

TWENTY-SEVENTH AFFIRMATIVE DEFENSE

 

(Business Judgment/Justification Rule)
As a Thirty-First Affirmative Defense, WILSON alleges that BOLTER’s claims and relief
or recovery in this matter are barred, in whole or in part, by the Business Judgment/Justification
Rule.

TWENTY-EIGHTH AFFIRMATIVE DEFENSE

 

ANSWER TO CLAIMS _9-
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(Disguised Damages Claim)
As a Thirty-Second Affirmative Defense, WILSON alleges that BOLTER’s claims for
restitution are barred, in whole or in part, as they constitute disguised claims for damages.

TWENTY-NINETH AFFIRMATIVE DEFENSE

 

(Equity)

As a Thirty-Third Affirmative Defense, WILSON alleges that BOLTER’s claims for
restitution are barred, in whole or in part, because, without intending limitation, any monies that
BOLTER paid to WILSON constituted compensation for services rendered by WILSON as
BOLTER’s agent and exclusive distributor for the nation of Indonesia. WILSON earned said
compensation. It would be inequitable to require that WILSON return to BOLTER any
compensation that it earned by working for BOLTER.

THIRTIETH AFFIRMATIVE DEFENSE

 

(All Other Affirmative Defenses)

As a Thirty-Fourth Affirmative Defense, WILSON alleges all other affirmative defenses that
may potentially become available as a result of information developed through discovery or trial.
Therefore, WILSON expressly reserves its right to amend its Answer and to assert additional
affirmative defenses, and to supplement, alter or change its Answer and affirmative defenses upon
revelation through discovery, trial, or otherwise of more definitive facts concerning the instant
matter.

PRAYER
WHEREFORE, WILSON prays as follows:
1. That BOLTER take nothing by its suit.
a, That, if appropriate, WILSON be awarded its attorney's fees incurred in defense of

the Claims.

ANSWER TO CLAIMS -10-
Case No. C 07 2340 JISW

 

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3, That WILSON be awarded its costs of defense in this action.

4. For such other and further relief as the Court may deem just and proper.

Dated: November 28, 2017 ROBIN WILSON

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ANSWER TO CLAIMS -ll-
Case No. C 07 2340 JSW

 

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